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                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA
                                 PHILADELPHIA DIVISION

MATTHEW CONOVER,

     Plaintiff,                                   CASE NO.:             18          1396
V.

ALLY FINANCIAL, INC.,

     Defendant.


                   COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW, Plaintiff, Matthew Conover, by and through the undersigned

counsel, and sues Defendant, Ally Financial, Inc., and in support thereof respectfully

alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.

("TCPA").

                                    INTRODUCTION

          1.      The TCP A was enacted to prevent companies like Defendant from

invading American citizen's privacy and to prevent abusive "robo-calls."

          2.      "The TCPA is designed to protect individual consumers from receiving

intrusive and unwanted telephone calls." Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

(2012).

          3.      "Senator Hollings, the TCPA's sponsor, described these calls as 'the

*1256 scourge of modyrn civilization, they wake us up in the morning; they interrupt our

dinner at night; they force the sick and elderly out of bed; they hound us until we want to

rip the telephone out of the wall." 137 Cong. Rec. 30, 821 (1991). Senator Hollings
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presumably intended to give telephone subscribers another option: "telling the auto-

dialers to simply stop calling." Osorio v. State Farm Bank, FS.B., 746 F. 3d 1242 (11th

Cir. 2014).

       4.          According    to   the   Federal   Communications    Commission      (FCC),

"Unwanted calls and texts are the number one complaint to the FCC.                 There are

thousands of complaints to the FCC every month on both telemarketing and robocalls.

The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

Proposal to Protect and Empower Consumers Against Unwanted Robocalls, Texts to

Wireless        Phones,   Federal    Communications     Commission,      (May    27,   2015),

https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676Al .pdf.

                                JURISDICTION AND VENUE

           5.      Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCP A.

        6.         Subject matter jurisdiction, federal question jurisdiction, for purposes of

this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of

47 U.S.C. § 227(b)(l)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

and Osorio v. State Farm Bank, FS.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

       7.         The alleged violations described herein occurred in Philadelphia County,

Pennsylvania. Accordingly, venue is appropriate with this Court under 28 U.S.C.



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§1391(b)(2), as it is the judicial district in which a substantial part of the events or

omissions giving rise to this action occurred.

                              FACTUAL ALLEGATIONS

       8.      Plaintiff is a natural person, and citizen of the State of Pennsylvania,

residing in Philadelphia County, Pennsylvania.

       9.      Plaintiff is the "called party." See Breslow v. Wells Fargo Bank, NA., 755

F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, FS.B., 746 F.3d 1242 (11 1h

Cir. 2014).

       10.     Defendant is a corporation with its principal place of business located at

200 Renaissance Center, 482 B09 C24, Detroit, Michigan 48265, and which conducts

business in the State of Pennsylvania through its registered agent, CT Corporation

System, located at 600 N 2nd Street, Suite 401, Harrisburg, Pennsylvania 17101-1071.

       11.     Defendant called Plaintiff approximately one hundred fifty (150) times in

an attempt to collect on an auto loan.

       12.     Upon information and belief, some or all of the calls Defendant made to

Plaintiffs cellular telephone number were made using an "automatic telephone dialing

system" which has the capacity to store or produce telephone numbers to be called, using

a random or sequential number generator (including but not limited to a predictive dialer)

or an artificial or pre-recorded voice; and to dial such numbers as specified by 47 U.S.C §

227(a)(l) (hereinafter "auto-dialer calls"). Plaintiff will testify that he knew it was an

auto-dialer because of the vast number of calls he received and because he heard a pause




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when he answered his phone before a voice came on the line and he received pre-

recorded messages from Defendant.

        13.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (215) ***-2621, and was the called party and recipient of Defendant's calls.

        14.     Defendant placed an exorbitant number of automated calls to Plaintiffs

cellular telephone (215) ***-2621 in an attempt to collect on an auto loan.

        15.     The auto-dialer calls from Defendant were initiated from phone numbers

including but not limited to: 877-247-2559 and when that number is dialed, a pre-

recorded message answers and says, "Thank you for calling Ally Bank, we are glad to be

here for you 24 hours a day, every day."

        16.     On several occasions over the last four (4) years, Plaintiff instructed

Defendant's agent(s) to stop calling his cellular telephone.

        17.     In or around May of 2017, Plaintiff received a call from Defendant, at

which time Plaintiff advised Defendant to stop calling; if his phone goes off at work he

will get into trouble.

        18.     Each subsequent call from Defendant to Plaintiff was done so without the

"express consent" of the Plaintiff.

        19.     Each subsequent call from Defendant to Plaintiff was knowing and willful.

        20.     Additionally, on or about September 29, 2017, Plaintiff received a call

from Defendant and once again instructed Defendant to stop calling him.




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        21.    Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice to individuals just as they did to Plaintiff's

cellular telephone in this case.

        22.    Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice, just as they did to the Plaintiff's cellular

telephone in this case, with no way for the consumer, Plaintiff, or Defendant to remove

the cellular telephone number.

        23.    Defendant's corporate policy is structured so as to continue to call

individuals like Plaintiff, despite these individuals explaining to Defendant they do not

wish to be called.

        24.    Defendant has numerous other federal lawsuits pending against them

alleging similar violations as stated in this Complaint.

        25.    Defendant has numerous complaints against it across the country asserting

that its automatic telephone dialing system continues to call despite being requested to

stop.

        26.    Defendant has had numerous complaints against it from consumers across

the country asking to not be called, however Defendant continues to call these

individuals.

        27.    Defendant's corporate policy provided no means for Plaintiff to have

Plaintiff's cellular telephone number removed from Defendant's call list.

        28.    Defendant has a corporate policy to harass and abuse individuals despite

actual knowledge the called parties do not wish to be called.



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        29.    Not one of Defendant's telephone calls placed to Plaintiff were for

"emergency purposes" as specified in 47 U.S.C. § 227(b)(l)(A).

        30.    Defendant willfully and/or knowingly violated the TCPA with respect to

Plaintiff.

        31.    From each and every call placed without express consent by Defendant to

Plaintiff's cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

intrusion upon his right of seclusion.

        32.    From each and every call without express consent placed by Defendant to

Plaintiff's cellular telephone, Plaintiff suffered the injury of the occupation of his cellular

telephone line and cellular telephone by unwelcome calls, making the cellular telephone

unavailable for legitimate callers or outgoing calls while the cellular telephone was

ringing from Defendant's call.

        33.    From each and every call placed without express consent by Defendant to

Plaintiff's cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

his time. For calls he answered, the time he spent on the call was unnecessary as he

repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

time to unlock the cellular telephone and deal with missed call notifications and call logs

that reflect the unwanted calls. This also impaired the usefulness of these features of

Plaintiff's cellular telephone, which are designed to inform the user of important missed

communications.

        34.    Each and every call placed without express consent by Defendant to

Plaintiff's cellular telephone was an injury in the form of a nuisance and annoyance to the



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Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

cellular telephone and deal with missed call notifications and call logs that reflected the

unwanted calls. This also impaired the usefulness of these features of Plaintiffs cellular

telephone, which are designed to inform the user of important missed communications.

        35.      Each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone resulted in the injury of unnecessary expenditure of

Plaintiffs cellular telephone's battery power.

        36.      Each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone where a voice message was left which occupied space in

Plaintiffs cellular telephone or network.

        37.      Each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone resulted in the injury of a trespass to Plaintiffs chattel,

namely his cellular telephone and his cellular telephone services.

        38.      As a result of the calls described above, Plaintiff suffered an invasion of

privacy. Plaintiff was also affected in a personal and individualized way by stress,

anxiety, nervousness, and aggravation.

                                           COUNT I
                                    (Violation of the TCP A)

        39.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

thirty-eight (3 8) as if fully set forth herein.




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       40.     Defendant willfully violated the TCP A with respect to Plaintiff,

specifically for each of the auto-dialer calls made to Plaintiff's cellular telephone after

Plaintiff notified Defendant that Plaintiff wished for the calls to stop.

       41.     Defendant repeatedly placed non-emergency telephone calls to Plaintiffs

cellular telephone using an automatic telephone dialing system or prerecorded or artificial

voice without Plaintiff's prior express consent in violation of federal law, including 47

U.S.C § 227(b)(l)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against Ally Financial, Inc., for statutory damages, punitive

damages, actual damages, treble damages, enjoinder from further violations of these parts

and any other such relief the court may deem just and proper.

                                                  Respectfull


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